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 4
     Attorney for Defendant: ANDREW R. BLAXON
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 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                     ) CR. S 08-539 FCD
11                                                 )
                                      Plaintiff,   )
12                                                 )
                         v.                        ) STIPULATION AND ORDER
13                                                 ) CONTINUING INITIAL
     ANDREW R. BLAXON,                             ) INITIAL APPEARANCE ON
14                                                 ) TSR VIOLATION
                                 Defendant,        )
15                                                 )
16         IT IS HEREBY STIPULATED by the partied, through their respective counsel,
17   that the defendant’s initial appearance on an alleged violation of his terms of supervised
18   release may be continued from February 22, 2011 to April 18, 2011. This continuance is
19   requested to determine the outcome of a proceeding in Sacramento County which
20   proceeding may effect the outcome of this alleged violation. There are no issues related
21   to the Speedy Trial Act.
22   Dated: February 22, 2011
23   / s / Steven D. Bauer
24   STEVEN D. BAUER, Counsel for Defendant
25   Dated: February 22, 2011
26
     / s / Jason Hitt
27   JASON HITT, Assistant United States Attorney
28   (Order on Following Page)
        Case 2:08-cr-00539-GEB Document 44 Filed 02/22/11 Page 2 of 2


 1
 2   IT IS SO ORDERED.
 3
 4   Dated: February 22, 2011         _______________________________________
                                      FRANK C. DAMRELL, JR.
 5
                                      UNITED STATES DISTRICT JUDGE
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